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FH.ED 53`.“' M D(~
:N THE UNITED sTATEs DISTRICT COURT '
FOR THE WESTERN DISTRICT oF TENNESSEE 95 JUH _7 PH Lr 27
WESTERN DIVISION ‘
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CLEP?E 4_`4,`¢3 ";§WC
UNITED sTATEs oF AMERICA, W-D- OF TN, 419erst

VS. NO. 04-20298-1\/[&
PATRICK L. TAYLOR,

Defendant.

 

Before the Court is the government's June 3, 2005, motion to
reset the sentencing of Patrick L. Taylor, Which is presently set
for June 8, 2005. For good cause shown, the motion is granted.

The sentencing of defendant Patrick L. Taylor is reset to Friday,

wl

June 17, 2005, at 10:00 a.m.

It is so ORDERED this day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 48 in
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Honorable Samuel Mays
US DISTRICT COURT

